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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



  United States of America,                    )       CASE NO. 5:12 CR 286-003
                                               )
         Plaintiff/Respondent,                 )       JUDGE PATRICIA A. GAUGHAN
                                               )
                 vs.                           )
                                               )
  Darryl A. Colbert,                           )       Memorandum of Opinion and Order
                                               )
         Defendant/Petitioner.                 )



         Introduction

         This matter is before the Court upon defendant’s Motion to Vacate Under Section

  2255 (Doc. 425). For the following reasons, the motion is DENIED.

         Facts

         Defendant pleaded guilty to conspiracy to distribute and to possess with intent to

  distribute five kilograms or more of cocaine, conspiracy to distribute and to possess with

  intent to distribute marijuana, and conspiracy to commit money laundering. The Court

  sentenced defendant to 210 months incarceration. On direct appeal, the conviction was

  affirmed. Subsequently, upon motion, defendant’s sentence was reduced to 168 months.

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            The matter is now before the Court upon defendant’s Motion to Vacate Under Section

  2255.

            Standard of Review

            28 U.S.C. § 2255 provides a prisoner in federal custody a remedy to collaterally attack

  his sentence on the ground that it was imposed in violation of the Constitution or laws of the

  United States. A prisoner may move to vacate, set aside or correct his sentence upon the basis

  that “the sentence was imposed in violation of the Constitution or laws of the United States,

  or that the court was without jurisdiction to impose such sentence, or that the sentence was in

  excess of the maximum authorized by law, or is otherwise subject to collateral attack.” 28

  U.S.C. § 2255. To warrant relief under the statute because of constitutional error, the error

  must be one of constitutional magnitude which had a substantial and injurious effect or

  influence on the proceedings. Brecht v. Abrahamson, 507 U.S. 619, 637, 113 S.Ct. 1710, 123

  L.Ed.2d 353 (1993) (citation omitted); Humphress v. United States, 398 F.3d 855, 858 (6th

  Cir.2005).

            Discussion

            Defendant asserts two grounds for relief, but they both relate to ineffective assistance

  of counsel: 1) Counsel Thomas Conway mislead defendant regarding the plea agreement and

  2) Counsel failed to conduct a pretrial investigation prior to advising defendant to plead

  guilty.

            To establish a claim of ineffective assistance of counsel, a defendant must show that

  counsel's performance was deficient and that counsel's deficient performance prejudiced the

  defense. Strickland v. Washington, 466 U.S. 668, 687–88, 694 (1984). “In order to succeed on


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  an ineffective assistance of counsel claim in the context of a guilty plea, a defendant must

  demonstrate that counsel's performance was deficient and that the deficient performance

  prejudiced his defense such that there is a reasonable probability that, but for counsel's errors,

  he would not have pleaded guilty and would have insisted on going to trial.” U.S. v.

  Ferguson,

  669 F.3d 756 (6th Cir. 2012) (citing Strickland, supra and Hill v. Lockhart, 474 U.S. 52, 59,

  (1985) ).

         As to the first ground for relief, defendant asserts that his counsel mislead him into

  pleading guilty by informing him that his twin brother’s sentence would be significantly

  higher if the two of them did not plead guilty. Counsel did not accurately explain the plea

  agreement by asserting that defendant’s plea would benefit his brother when, in fact, there

  was no package plea agreement. Rather, the evidence against defendant was not nearly as

  strong as against his brother and he received no concessions by pleading guilty.

         Defendant fails to satisfy the Strickland standard. The plea transcript shows that

  defendant’s guilty plea was voluntarily made and that he was satisfied with his attorney.

  Additionally, the government demonstrates that defendant received a benefit from pleading

  guilty as he potentially faced a mandatory life imprisonment sentence had he been convicted

  at trial. But, as a result of discussions between the AUSA and defendant’s counsel, defendant

  entered a guilty plea with a plea agreement and the government indicating it would be

  satisfied with a “reduced” 240 month sentence. (Samuel Yannucci aff.) Through the efforts

  of defendant’s counsel, defendant received the lower sentence of 210 months and was

  positioned to secure a reduction in sentence- which did occur. Finally, contrary to defendant’s


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  assertion, the government points out that the factual basis of the plea agreement shows the

  overwhelming evidence of defendant’s guilt as charged.

         As to the second ground for relief, defendant asserts that his attorney failed to conduct

  a proper pre-plea investigation where defendant had informed counsel that the government

  inaccurately based its case against defendant upon the seizure of $10,000 when, in fact, the

  money had been seized from defendant’s brother. Defendant informed Conway of the

  inaccuracy but counsel failed to investigate it. Subsequent discovery of the official records

  shows that the money was seized from defendant’s brother. But, as the government points out,

  defendant’s counsel did raise this issue in the motion to suppress which was rejected by this

  Court and affirmed on appeal. Furthermore, both courts noted that the statement relating to

  the seizure of the money was not essential to a finding of probable cause and probable cause

  was easily satisfied even if the entire paragraph containing the purportedly false statement

  was stricken. Thus, defendant does not demonstrate deficient performance or prejudice.

         Conclusion

         For the foregoing reasons, defendant’s Motion to Vacate Under Section 2255 is

  denied. Furthermore, the Court certifies, pursuant to 28 U.S.C. § 1915(a)(3), that an appeal

  from this decision could not be taken in good faith, and that there is no basis upon which to

  issue a certificate of appealability. 28 U.S.C. § 2253(c); Fed. R.App.P. 22(b).

                  IT IS SO ORDERED.

                                        /s/ Patricia A. Gaughan
                                        PATRICIA A. GAUGHAN
                                        United States District Judge

  Dated: 4/6/16


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